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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                              Plaintiff,

               - against -                             Case No. 1:20-cv-03010-APM

Google LLC,

                              Defendant.



              DECLARATION OF BRADLEY J. PIERSON IN SUPPORT OF
                    MOTION FOR ADMISSION PRO HAC VICE



       I, Bradley J. Pierson, hereby declare:

       1.      I am counsel for Non-Party Petitioner Apple Inc. in the above-captioned action. I

have personal knowledge of the facts set forth in this Declaration, and if called as a witness, I

could and would testify competently to these facts under oath.

        2.     My full name is Bradley James Pierson.

        3.     I am an attorney with the law firm of Skadden, Arps, Slate, Meagher & Flom

LLP. My office address is One Manhattan West, New York, NY 10001. My telephone number

is (212) 735-3309. My email address is Bradley.pierson@skadden.com.

        4.     I am admitted and a member in good standing of the New York State Bar.

        5.     I have never been disciplined by any bar.

        6.     Within the last two years, I have not been admitted pro hac vice in this Court.

        7.     I do engage in the practice of law from an office located in the State of New York.




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      I declare under penalty of perjury that the foregoing is true and correct. Executed on this

13th day of September, 2023 in Washington, D.C.

                                                                                          K3(o2od-3
                                                           Bradley `J. Pierson




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